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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

 ISAAC E. STEWART,
      Address:
      17617 W. 111th Place
      Olathe, Kansas 66061

                Plaintiff,
                                                   Case No.
          v.
                                                   JURY TRIAL DEMANDED
 FORD MOTOR COMPANY,
      Serve at:
      Registered Agent
      The Corporation Company, Inc.
      112 SW 7th Street, Suite 3C
      Topeka, Kansas 66603

                Defendant.

                                         COMPLAINT

       COMES NOW, Plaintiff Isaac E. Stewart (“Stewart”), and for his Complaint against Ford

Motor Company (“Defendant” or “Ford”), states and alleges as follows:

                                           PARTIES

       1.      Stewart is a citizen of the United States, presently residing in Johnson County,

Kansas.

       2.      At all times relevant to this action, Stewart was employed by Defendant.

       3.      Defendant is a for profit company, organized under the laws of Delaware, with its

principle place of business located in Michigan.

       4.      At all times relevant to this action, Defendant was authorized to conduct business

in Kansas and was doing business in Kansas.

                                JURISDICTION AND VENUE
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        5.      This Court has personal jurisdiction over Defendant because it conducts business

in Kansas and because Stewart’s alleged injuries arise out of Defendant’s business operations in

Kansas.

        6.      This Court has subject matter jurisdiction over this Complaint pursuant to 28 U.S.C.

§ 1331 because this Complaint arises under federal law.

        7.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to Stewart’s claims occurred within this Court’s

territorial jurisdiction.

                      EXHAUSTION OF ADMINISTRATIVE REMEDIES

        8.      On or about January 30, 2018, Stewart filed a Charge of Discrimination (“Charge”)

against Defendant with the Equal Employment Opportunity Commission (“EEOC”).

        9.      On May 30, 2018, the EEOC issued Stewart a Notice of Right to Sue with respect

to the Charge, and this lawsuit was filed within 90 days of the issuance of the Notice of Right to

Sue.

        10.     The aforesaid Charge, and any amendments made thereto, provided the EEOC with

an opportunity to investigate the full scope of the controversy between the parties.

        11.     Stewart has satisfied all prerequisites to the institution of this action.

                  GENERAL ALLEGATIONS COMMON TO ALL COUNTS

        12.     Paragraphs 1 through 11 above are incorporated herein by reference.

        13.     Stewart was hired by Ford as a temporary Parts Order Processor in May 2016.

        14.     Stewart worked at Ford’s Distribution Center located at 8515 Hedge Lane Terrace,

Lenexa, Kansas 66227.




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       15.     According to Ford, “[a]fter being given a conditional offer of employment,

[Stewart] was required to complete a pre-employment medical evaluation” which included a

Health History Form.

       16.     According to Ford, the Health History Form inquired about Stewart’s medical

health history and contained questions about prior operations and disabilities.

       17.     No issues were raised by Ford with respect to Stewart’s pre-employment medical

evaluation, and Stewart commenced his employment.

       18.     In August 2016, Stewart was offered a regular full-time role with the company,

along with a pay raise and benefits.

       19.     In August 2017, Stewart received another pay raise for satisfactory work

performance.

       20.     In the fall of 2017, Stewart began to suffer pain in his left ankle.

       21.     Stewart had previously broken his left ankle and underwent surgery back in

approximately 2005.

       22.     In November 2017, Stewart informed his union representative about his ankle and

the possibility that he may need some time off. The union representative notified Ford about

Stewart’s condition and obtained FMLA paperwork for him to complete.

       23.     On or about November 30, 2017, Stewart faxed a form titled “Medical Certification

Form for Hourly and Salaried Employees – Request for Leave of Absence for Employee’s Own

Health Condition” to his physician.

       24.     On or about December 7, 2017, Stewart’s physician completed the form, which

stated that Stewart had “left lower ankle pain and swelling, chronic intermittent due to old injury

and surgery with hardware.”




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       25.     The form said Stewart’s condition could cause episodic flare-ups periodically

preventing him from performing his job functions, and that it would be medically necessary for

him to be absent from work during the flare-ups (due to pain and swelling that would require him

to be off his feet). The form estimated that the frequency of the flare-ups and the duration of

related incapacity over the next 6 months to be 1 time per 2 weeks for 1 day per episode.

       26.     According to Ford, the company received the FMLA certification form from

Stewart’s physician on or about January 2, 2018.

       27.     Stewart did not hear anything from Ford about his FMLA paperwork and soon

followed up. When Stewart asked his supervisor, Tony Banks, about the status of his FMLA

paperwork, Banks said he would check on it and be back in touch.

       28.     Eventually, Banks approached Stewart and gave him a handwritten note with the

contact information for a “Dr. Lakind.” Banks told Stewart to give the doctor a call because there

were questions about his FMLA paperwork.

       29.     Upon information and belief, Dr. Lakind is the Medical Director for the Lenexa

Distribution Center.

       30.     Stewart contacted Dr. Lakind the following day. During this call, Dr. Lakind

interrogated Stewart about his FMLA paperwork, the circumstances and history of his left ankle

condition, and the answers he submitted to Ford previously concerning his medical health history.

       31.     According to Ford, Dr. Lakind believed Stewart had provided “false information”

on the Health History Form previously submitted to Ford, and he reported this belief to Ford’s

Human Resources Department.

       32.     On or about January 11, 2018, Stewart was called into a meeting with his union

representative, Banks, and Bank’s supervisor (Brent).




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       33.     During this meeting, Stewart was told that he was being terminated from

employment for his failure to disclose certain medical information related to his FMLA request.

                                          COUNT I
                  Violation of the Americans with Disabilities Act (“ADA”)
                             Discrimination Based on Disability
                                   42 U.S.C. § 12101, et seq.

       34.     Paragraphs 1 through 33 above are incorporated herein by reference.

       35.     At all times relevant to this action, Defendant was engaged in an industry affecting

commerce and had fifteen or more employees for each working day in each of twenty or more

calendar weeks in the current or preceding calendar year.

       36.     At all times relevant to this action, Defendant was an “employer” within the

meaning of the Americans with Disabilities Act, as amended (“ADA”), 42 U.S.C. § 12101, et seq.

       37.     Under the ADA, no covered entity shall discriminate against a qualified individual

on the basis of disability in regard to job application procedures, the hiring, advancement, or

discharge of employees, employee compensation, job training, and other terms, conditions, and

privileges of employment. 42 U.S.C. § 12112(a).

       38.     The term “discriminate against a qualified individual on the basis of disability”

includes not making reasonable accommodations to the known physical or mental limitations of

an otherwise qualified individual with a disability. 42 U.S.C. § 12112(b)(5)(A).

       39.     At all times relevant to this action, Stewart had a “disability” within the meaning

of the ADA due to his left ankle condition.

       40.     At all times relevant to this action, Stewart was a “qualified individual” able to

perform the essential functions of his job with or without accommodation.

       41.     Defendant knew of Stewart’s disability.




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       42.     During his employment, Stewart’s co-workers and supervisor(s), while acting

within the scope and course of employment, intentionally discriminated against Stewart with

respect to the terms, conditions, and/or privileges of employment, because of his disability in

violation of 42 U.S.C. § 12101, et seq.

       43.     During his employment, Stewart sought reasonable accommodation or access to

certain benefits from Defendant in the form of continued employment, a modified work schedule,

an intermittent leave of absence, and/or other requests for accommodation.

       44.     Defendant failed to consider and/or provide reasonable accommodations for

Stewart’s disability. Instead, Defendant terminated Stewart.

       45.     Defendant failed to engage in the interactive process to determine whether a

reasonable and suitable accommodation existed which would permit Stewart to perform the

essential functions of his position, or whether Stewart could be reassigned to an open position.

       46.     Stewart’s disability was a motivating factor or determining factor or otherwise

played a part in Defendant’s decision to take the aforementioned actions against Stewart.

       47.     Defendant knew, or should have known, of the discrimination described herein, but

failed to take appropriate remedial action.

       48.     Defendant, through its agents or employees, engaged in discriminatory practices

with malice or reckless indifference to Stewart’s federally protected rights. Stewart is therefore

entitled to an award of punitive damages in an amount sufficient to punish Defendant and to deter

it and other companies from engaging in similar conduct.

       49.     As a direct and proximate cause of the actions and conduct set forth herein, Stewart

suffers and will continue to suffer damages, emotional distress, and inconvenience.




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       50.     WHEREFORE, Stewart requests that this Court enter judgment in his favor and

against Defendant for such damages, actual, compensatory, and/or punitive, as are fair and

reasonable, for his reasonable attorneys’ fees and costs incurred herein, for interest as allowed by

law, and for such other and further legal and equitable relief as may be appropriate to effectuate

the purposes of the ADA.

                                           COUNT II
                   Violation of the Americans with Disabilities Act (“ADA”)
                                    Failure to Accommodate
                                    42 U.S.C. § 12101, et seq.

       51.     Paragraphs 1 through 50 above are incorporated herein by reference.

       52.     Stewart was a qualified individual with a disability; Defendant was aware of his

disability; Stewart requested a reasonable accommodation for his disability; and Defendant failed

to reasonably accommodate Stewart’s disability.

                                           COUNT III
                   Violation of the Americans with Disabilities Act (“ADA”)
                                    Retaliation / Interference
                                    42 U.S.C. § 12101, et seq.

       53.     Paragraphs 1 through 52 above are incorporated herein by reference.

       54.     “No person shall discriminate against any individual because such individual has

opposed any act or practice made unlawful by this chapter or because such individual made a

charge, testified, assisted, or participated in any manner in an investigation, proceeding, or hearing

under this chapter.” 42 U.S.C. § 12203(a).

       55.     During his employment, Stewart engaged in an activity that the ADA protects:

Stewart sought reasonable accommodation or access to certain benefits from Defendant in the form

of continued employment, a modified work schedule, an intermittent leave of absence, and/or other

requests for accommodation.




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       56.     In response to Stewart’s protected activities, Defendant took adverse action against

him. Defendant denied his request for accommodations, denied his request for FMLA leave, and

disclosed confidential medical information to its employees in violation of the ADA.

       57.     Defendant’s actions were meant to “chill” an employee’s willingness to exercise

his or her statutory rights under the ADA.

       58.     A causal link exists between Stewart’s protected activity and Defendant’s adverse

actions.

       59.     Stewart’s protected activities were a motivating factor or determining factor or

otherwise played a part in Defendant’s decision to take the aforementioned actions against Stewart.

       60.     Defendant knew, or should have known, of the retaliation and interference

described herein, but failed to take appropriate remedial action.

       61.     Defendant, through its agents or employees, engaged in retaliatory practices with

malice or reckless indifference to Stewart’s federally protected rights. Stewart is therefore entitled

to an award of punitive damages in an amount sufficient to punish Defendant and to deter it and

other companies from engaging in similar conduct.

       62.     As a direct and proximate cause of the actions and conduct set forth herein, Stewart

suffers and will continue to suffer damages, emotional distress, and inconvenience.

       63.     WHEREFORE, Stewart requests that this Court enter judgment in his favor and

against Defendant for such damages, actual, compensatory, and/or punitive, as are fair and

reasonable, for his reasonable attorneys’ fees and costs incurred herein, for interest as allowed by

law, and for such other and further legal and equitable relief as may be appropriate to effectuate

the purposes of the ADA.




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                                        COUNT IV
                 Violation of the Americans with Disabilities Act (“ADA”)
     Illegal Medical Examinations and Inquiries / Violation of Duty of Confidentiality
                                  42 U.S.C. § 12101, et seq.

       64.     Paragraphs 1 through 63 above are incorporated herein by reference.

       65.     The ADA’s “prohibition against discrimination … shall include medical

examinations and inquiries.” 42 U.S.C. § 12112(d)(1).

       66.     The ADA authorizes employers to “require a medical examination after an offer of

employment has been made to a job applicant and prior to the commencement of the employment

duties of such applicant and may condition the offer of employment on the results of such

examination.” 42 U.S.C. § 12112(d)(3).

       67.     However, with limited exceptions, the ADA mandates that the employer keep

strictly confidential the results of a post-job-offer examination. The examination is allowed only

if information obtained regarding the medical condition or history of the applicant is collected and

maintained on separate forms and in separate medical files and is treated as a confidential medical

record. 42 U.S.C. § 12112(d)(3).

       68.     Additionally, an employer shall not require a medical examination and shall not

make inquiries of a current employee as to whether such employee is an individual with a disability

or as to the nature or severity of the disability, unless such examination is shown to be job-related

and consistent with business necessity. 42 U.S.C. § 12112(d)(4).

       69.     According to Ford, it made a job offer to Stewart and conditioned the offer on the

results of an employment entrance examination. Stewart participated in the required examination

and provided information about his medical conditions and medical history.




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        70.     However, information obtained by Defendant regarding the medical condition or

history of Stewart was not collected and maintained on separate forms and in separate medical

files and was not treated as a confidential record as required by the ADA.

        71.     Instead, such confidential records were disclosed to unauthorized management-

level employees, in violation of the ADA.

        72.     Defendant also made inquiries of Stewart as to whether he was an individual with

a disability and as to the nature or severity of his disability, and such inquiries were not job-related

and consistent with business necessity, in violation of the ADA.

        73.     Defendant, through its agents or employees, engaged in such practices with malice

or reckless indifference to Stewart’s federally protected rights. Stewart is therefore entitled to an

award of punitive damages in an amount sufficient to punish Defendant and to deter it and other

companies from engaging in similar conduct.

        74.     As a direct and proximate cause of the actions and conduct set forth herein, Stewart

suffers and will continue to suffer damages, emotional distress, and inconvenience.

        75.     WHEREFORE, Stewart requests that this Court enter judgment in his favor and

against Defendant for such damages, actual, compensatory, and/or punitive, as are fair and

reasonable, for his reasonable attorneys’ fees and costs incurred herein, for interest as allowed by

law, and for such other and further legal and equitable relief as may be appropriate to effectuate

the purposes of the ADA.

                                              COUNT V
                        Violation of the Family and Medical Leave Act of 1993
                             29 U.S.C. § 2615(a)(1) – FMLA Interference

        76.     Paragraphs 1 through 75 above are incorporated herein by reference.




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       77.     At all relevant times, Stewart was employed for at least 12 months by Defendant,

the employer to whom leave was requested, and was employed for at least 1,250 hours of service

with Defendant during the 12-month period immediately preceding his requested leave, and was

therefore an “eligible employee” as that term is defined under the Family and Medical Leave Act

of 1993 (“FMLA”), 29 U.S.C. § 2611(2).

       78.     At all relevant times, Defendant was engaged in commerce or in any industry or

activity affecting commerce, and employed 50 or more employees for each working day during

each of 20 or more calendar workweeks in the current or preceding calendar year, and was

therefore an “employer” as that term is defined by the FMLA, 29 U.S.C. 2611(4)(A)(i).

       79.     The FMLA entitles an employee “to a total of 12 workweeks of leave during any

12-month period” if the employee suffers from a “serious health condition.” 29 U.S.C. § 2612.

       80.     An interference of rights occurs when an employer interferes with, restrains, or

denies the exercise or attempted exercise of rights or benefits under the FMLA. See 29 U.S.C. §

2615(a)(1).

       81.     In addition, “[r]ecords and documents relating to certifications, recertifications or

medical histories of employees or employees’ family members, created for purposes of FMLA,

shall be maintained as confidential medical records in separate files/records from the usual

personnel files.” 29 C.F.R. § 825.500(g).

       82.     On January 11, 2018, the date Ford denied Stewart’s request for FMLA leave, and

terminated his employment, Stewart was eligible for FMLA leave.

       83.     In denying Stewart’s request for FMLA leave, impermissibly disclosing his

protected and confidential medical information, and terminating his employment, Defendant

wrongfully and illegally interfered with Stewart’s federally protected civil rights under the FMLA,




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including his right to leave under the FMLA, the right to confidentiality of medical information,

and the right to be restored to his position at the end of FMLA leave.

          84.   Stewart was an eligible employee for FMLA leave; Defendant is an employer under

the FMLA; Stewart was entitled to leave under the FMLA; Stewart provided sufficient notice to

Defendant of his intent to take FMLA leave; and Defendant interfered with and denied Stewart

FMLA benefits to which he was entitled.

          85.   As a direct and proximate result of Defendant’s actions and/or inactions, Stewart

has been deprived of income, as well as other monetary and non-monetary benefits.

          86.   The actions of Defendant, including its agents and/or employees, in terminating

Stewart’s employment and depriving him of his federally protected civil rights under the FMLA

constitute a willful violation of the FMLA and therefore entitle Stewart to recover liquidated

damages.

          87.   Stewart is entitled to recover from Defendant his reasonable attorneys’ fees and

costs.

          88.   WHEREFORE, Stewart requests that the Court enter judgment in his favor and

against Defendant for such damages, actual, nominal and punitive, as are fair and reasonable, for

his reasonable attorneys’ fees and costs incurred herein, for interest as allowed by law, and for

such other and further legal and equitable relief as the Court deems proper.

                                             COUNT VI
                        Violation of the Family and Medical Leave Act of 1993
                              29 U.S.C. § 2615(a)(2) – FMLA Retaliation

          89.   Paragraphs 1 through 88 above are incorporated herein by reference.




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       90.     The FMLA prohibits an employer from “discharge[ing] or in any other manner

discriminat[ing] against any individual” for asserting his rights under the FMLA. 29 U.S.C. §

2615(a)(2).

       91.     Stewart applied for and requested FMLA benefits from Defendant, and thereby

engaged in protected activity pursuant to the FMLA, 26 U.S.C. 2615(a)(2).

       92.     Stewart was an eligible employee for FMLA leave; Defendant is an employer under

the FMLA; Stewart was entitled to leave under the FMLA; Stewart provided sufficient notice to

Defendant of his intent to take FMLA leave; and Defendant retaliated against Stewart by taking

materially adverse actions against Stewart because of his attempt to exercise his rights under the

FMLA.

       93.     Defendant’s actions in denying Stewart’s request for FMLA leave, impermissibly

disclosing his protected and confidential medical information, and subsequently terminating his

employment are actions that a reasonable employee would have found materially adverse.

       94.     A causal connection exists between Stewart’s protected activities and the adverse

actions.

       95.     The materially adverse actions taken against Stewart by Defendants occurred

within short temporal proximity to Stewart’s attempt to take leave under the FMLA.

       96.     As a direct and proximate result of Defendant’s actions and/or inactions, Stewart

has been deprived of income, as well as other monetary and non-monetary benefits.

       97.     The actions of Defendant, including its agents and/or employees, in terminating

Stewart’s employment and depriving him of his federally protected civil rights under the FMLA

constitute a willful violation of the FMLA and therefore entitle Stewart to recover liquidated

damages.




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          98.    Stewart is entitled to recover from Defendant his reasonable attorneys’ fees and

costs.

          99.    WHEREFORE, Stewart requests that the Court enter judgment in his favor and

against Defendant for such damages, actual, nominal and punitive, as are fair and reasonable, for

his reasonable attorneys’ fees and costs incurred herein, for interest as allowed by law, and for

such other and further legal and equitable relief as the Court deems proper.

                              DESIGNATION OF PLACE OF TRIAL

          Stewart hereby designates the federal court in Kansas City, Kansas, as the place of trial.

                                           JURY DEMAND

          Stewart hereby requests a trial by jury of all triable issues alleged herein.

Dated: August 22, 2018                           Respectfully submitted,

                                                 McCLELLAND LAW FIRM
                                                 A Professional Corporation

                                                 By:     /s/ Ryan L. McClelland
                                                         Ryan L. McClelland, MO Bar #59343
                                                                               D. KS Bar #78128
                                                         The Flagship Building
                                                         200 Westwoods Drive
                                                         Liberty, Missouri 64068-1170
                                                         Telephone:    (816) 781-0002
                                                         Facsimile:    (816) 781-1984
                                                         ryan@mcclellandlawfirm.com

                                                         ATTORNEYS FOR PLAINTIFF




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